                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF IOWA
                                EASTERN DIVISION

 UNITED STATES OF AMERICA,
                  Plaintiff,                                     No. 07-CR-1023-LRR
 vs.
                                                                        ORDER
 ORLANDO BIRBRAGHER,
                  Defendant.
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                                       I. INTRODUCTION
         The matter before the court is the government’s oral motion for the pre-trial
detention of Defendant Orlando Birbragher.
                                  II. PROCEDURAL HISTORY
         On November 7, 2007, a federal grand jury returned a thirty-one-count Indictment
against Defendant and five of his alleged co-conspirators, Marshall Neil Kanner, Jack




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Eugene Huzl, Douglas Willis Bouchey, Armando Angulo and Peter Colon Lopez. In
relevant part, Count 1 charges Defendant with Conspiracy to Distribute Narcotics, in
violation of 21 U.S.C. § 846. Count 2 charges Defendant with Conspiracy to Commit
Money Laundering, in violation of 18 U.S.C. § 1956(h).
      On November 16, 2007, Defendant surrendered in this jurisdiction and was
arraigned. He pled not guilty to both counts of the Indictment. The government orally
moved for the pre-trial detention of Defendant and requested the detention hearing
(“Detention Hearing”) be delayed for three days. At Defendant’s request, the court then
scheduled the Detention Hearing for November 20, 2007.
      At the Detention Hearing, Assistant United States Attorneys Stephanie Rose and
Matthew Cole represented the government. Attorney Richard Diaz represented Defendant,
who was personally present.
      Following the Detention Hearing, the court gave the attorneys the option of filing
additional briefs, which the attorneys declined. The court heard final arguments and
announced it would issue a written decision as soon as possible. The court detained
Defendant pending the instant Order.
                             III. RELEVANT EVIDENCE
                     A. Information from Pretrial Services Report
      The United States Probation Office (“USPO”) prepared a Pretrial Services Report
(“Report”) with Defendant’s assistance. According to the Report, Defendant is 50 years
old. He was born in Colón, Panamá. His parents, Orlando Villarreal, Sr. and Feiga
Birbragher, presently live in Panamá and Miami, Florida, respectively.
      Defendant reported to the USPO that he came to the Miami area from Panamá in
1987. He states that he was a resident alien from about 1988 until 1999. Defendant stated
that he became a United States citizen in 2000. He resides in Miami with his wife, Alexis,

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          Jack Eugene Huzl died after he was indicted.

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and their four-year-old child, David. Also in the home are Defendant’s children from a
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prior marriage: Carla, age 24, and Andres, age 22.       Defendant has lived in his present
home in Miami since June 2004 and has lived in the Miami community for twenty years.
The Report indicates that Defendant’s “employer” is “Investment Banker” and his income
is $205,000 per year. The USPO either did not ask or Defendant did not state the name
of his employer or his company. Defendant apparently told the USPO that he has been
employed with “Investment Banker” for seventeen years. Defendant holds American and
Panamanian passports.
      Defendant reported other business endeavors. Defendant stated that he breeds Paso
Fino horses. He also reported that he has been involved in providing “software packages
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to health care networks in South America” since 2004. He reported that he travels to
Panamá on business five days every month. Defendant claimed no income has been
realized from his software sales and a mere $2,000 has been realized from his horse
breeding business since 2006.
      Defendant reported that he has $50,000 in cash and owns a home valued at $3.8
million. His equity in the home is reported to be $900,000 due to a mortgage and a home
equity loan. He stated that he and his wife owe $30,000 in credit card debt. He reports
that he pays $3,000 per month for leased vehicles and $1,300 for utilities.
      According to Defendant, he has no physical or mental health issues and does not
have a history of substance abuse. That information was contradicted by his arrest record.
Defendant’s arrest record shows a 1994 arrest by the United States Drug Enforcement
Administration (“DEA”) in Glenwood Springs, Colorado for money laundering and filing


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          Defendant was married to Katia Gonzales from 1982 to 1989.
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          During the Detention Hearing, information was presented that Defendant has a
business in Panamá. Panamá is not a part of South America, so it is unclear if Defendant
has business dealings in addition to those in Panamá.

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fraudulent currency transaction reports. He was also arrested in 1995 by the Miami-Dade
Police Department for driving under the influence of alcohol. The USPO reports that the
disposition of these arrests is not known.
       The USPO recommends pretrial detention because of the risk of flight.
                      B. Evidence Received at the Detention Hearing
       Defendant, his wife and his counsel first became aware that the government had
linked Defendant to uncharged criminal activity when he surrendered in this jurisdiction
on November 16, 2007. They also learned at that time that the government had developed
evidence that Defendant may have made false statements on his application for United
States citizenship.
       DEA Special Agent Gary S. Coffman (“Special Agent Coffman”) testified that from
1990 to 2003 he was assigned to Miami and Fort Lauderdale, Florida. During that time
period, he worked on the case of United States of America v. Manuel Noriega, the
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prosecution of the deposed Panamanian president.          One of Noriega’s alleged co-
conspirators was Brian Davidow (“Davidow”).           The charges involved, inter alia,
smuggling of drugs and guns. It was in that connection that, in late 1990 and early 1991,
Special Agent Coffman came to know Defendant, whose street name was “Toti.” In
preparation for the Davidow trial, Special Agent Coffman debriefed Defendant and
reviewed debriefing statements that Defendant had made to other law enforcement agents.
During that time period, Defendant also appeared and testified before a federal grand jury.
Defendant testified under use immunity and was never prosecuted for his participation in
illegal activity.
       During his proffers and testimony, Defendant admitted to Special Agent Coffman

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        See, e.g., United States v. Noriega, 683 F. Supp. 2d 1373 (S.D. Fla. 1988);
United States v. Noriega, 746 F. Supp. 1506 (S.D. Fla. 1990), aff’d 117 F.3d 1206 (11th
Cir. 1997), cert. denied, 523 U.S. 1060 (1998); United States v. Noriega, 40 F. Supp. 2d
1378 (S.D. Fla. 1999).

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that he participated in arms and drug trafficking in the United States and Panamá.
Although Defendant was not involved in any murders, murders did in fact occur within the
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drug organization with which he associated.
      Specifically, Defendant engaged in cocaine smuggling with Armet Paredes
(“Armet”) and Rubén Dario Paredes (“Rubén”) beginning in 1983. Armet Paredes was
Defendant’s brother-in-law, the brother of Rubén and the son of General Rubén Paredes,
a former member of the Panamanian military under General Manuel Noriega. Defendant,
Armet and Rubén would hide cocaine in appliances, stereo equipment and the like and
transport the same to Miami. Some time between 1993 and 1998, Defendant introduced
Boris Olarte-Morales to Rubén and Armet to help them with their cocaine business.
According to Defendant, that deal did not materialize. Sometime thereafter, Defendant
traveled to Miami with Rubén and Armet and was introduced to Davidow, who was a
partner in the cocaine business with Rubén and Armet. In 1985, Defendant put his friends
in Panamá in touch with Rubén and Armet in order to transport cocaine. This deal did not
go through because the parties could not agree to a price.
      According to Special Agent Coffman, in late 1984, Defendant and his father
operated a gun shop in Panamá City. Defendant’s father also sold airplane parts to the
Panamanian Defense Forces. They sold guns to Colombians, some of whom he knew were
members of the M-19, a Colombian guerilla movement. In order to sell guns to the M-19
in Colombia, Defendant had to get permission from General Manuel Noriega and from
Rubén, who was a high-ranking member of the Panamanian Defense Forces. Furthermore,
a government authorization had to be secured to import the weapons into Panamá. Once
the weapons arrived in Panamá, they were warehoused by the Panamanian Defense Forces.
Finally, to complete the sale, the weapons had to be requisitioned from the Panamanian
Defense Forces by the original consignee.

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          Rubén Dario Paredes and Cesar Rodriguez were murdered.

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       In 1994, DEA agents in Tampa, Florida asked Special Agent Coffman to assist with
a search warrant in February of 1994 at Defendant’s apartment in Miami. Defendant was
suspected of laundering drug proceeds on behalf of Colombian drug traffickers. An
undercover agent met with Defendant on a couple of prior occasions. In March of 1993,
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Defendant laundered a substantial amount of money on two occasions through Ocean
Bank in the Miami area. At that time, Defendant’s current wife, Alexis, was employed
by the bank. Following the search warrant, Special Agent Coffman initiated the filing of
a federal criminal complaint against Defendant in the Southern District of Florida for the
crime of money laundering. On March 2, 1994, in Aspen, Colorado, Special Agent
Coffman arrested Defendant and his wife pursuant to the complaint. Defendant returned
to Florida and cooperated with law enforcement in return for dismissal of the charges
against him. The DEA closed its case against Defendant in 1996.
       Special Agent Coffman testified that Defendant has the capability to flee due to his
connections with other foreign countries. Defendant and his current wife have traveled
extensively and have conducted business overseas.
       Special Agent Jeff McGuire (“Special Agent McGuire”) of the Internal Revenue
Service (“IRS”) also testified. According to Special Agent McGuire, in May of 2004,
DEA agents executed search warrants at the offices of Pharmacom International
Corporation (“Pharmacom”), a business owned by Defendant and co-defendant Kanner.
General ledgers were recreated through the IRS forensics lab. As of the date of the search,
approximately $41 million had been deposited in Pharmacom bank accounts. Of that
amount, approximately $3.7 million went directly to Defendant’s accounts in the fifteen-
month period from January of 2003 to May of 2004. In addition, in that same time period,
Defendant was paid a salary in the amount of $410,000, and $2.5 million was funneled to


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          Special Agent Coffman noted that DEA records reflected that Defendant
laundered in excess of $100,000 in each of the two transactions.

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Defendant indirectly through a number of businesses owned by Defendant.
       Special Agent McGuire calculates that Defendant has received approximately $6.8
million from Pharmacom; however, law enforcement has only recovered approximately
$4 million from Defendant. After the search in May of 2004, Defendant made substantial
transfers of money to people to whom Defendant is related. For example, on May 29,
2004, Defendant transferred $400,000 to Anthony Lopez, his wife’s brother, for a “real
estate investment.” Defendant also transferred money to his wife, Alexis, his daughter,
Carla, and to Franklin Rodriguez, a man who is married to Defendant’s cousin. According
to Special Agent McGuire, Defendant also used Pharmacom monies to purchase boats, art
work, horses and jewelry valued in excess of several hundred thousand dollars, which, to
date, have not been seized. The seized records also reflect the transfer of funds from
Pharmacom to bank accounts in Panamá for a business Defendant was forming in Panamá.
From the records and according to defense counsel, it appears that the business intends to
operate or function as Pharmacom did before it was closed by law enforcement. The court
finds such a business would present the same type of safety risks to the public that were
inherent in the Pharmacom business.
       During the May of 2004 search, Special Agent McGuire also uncovered a
curriculum vitae or resume purporting to describe Defendant’s business and personal
background. In the undated document, it is represented that Defendant is “Managing
Director and Chief Executive Officer of Holding Funds International.” Gov’t Ex. 8. He
is touted as “a recognized leader in various segments of the Financial Services Industry,
including Commercial and Investment Banking, Syndication of Financial Products, as well
as Corporate and Project Finance.” Id. The document represents that Defendant has
served as a director of several international financial institutions and that he has served as




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an “IB” for investment banking firms such as Prudential Securities and Merrill Lynch
International. Defendant purports to have experience in South America, the Caribbean,
Spain, France, England, Greece, Italy, Luxembourg, Yugoslavia, Poland, Egypt, Israel
and Russia. He claims fluency in Spanish, English, Italian and French. Many of his
business activities are shown as conducted in Panamá, with the remainder in Miami.
       As of June 2006, according to Special Agent McGuire, Defendant had not filed a
2004 tax return. Defense counsel produced an alleged copy of Defendant’s Form 1040 for
the calendar year 2004, showing an adjusted gross income of $241,823 and a federal
refund due of $19,565. It is not known whether the return was filed, although the name
of the alleged tax preparer is typed in as is the date of preparation “September 11, 2007.”
Def. Ex. A. On the document, Defendant represents himself as an executive in “real
estate sales.” Def. Ex. A.
       Special Agent McGuire concluded that, as a result of this investigation, seventeen
doctors have been identified as prescribing drugs for customers of Pharmacom’s website.
Fourteen have cooperated with the government, providing information about the operation
of Pharmacom. Also, key Pharmacom employees are cooperating, including the vice-
president, the third corporate officer and the bookkeeper. Based on the materials presented
to it, the federal grand jury returned the instant Indictment, charging Defendant with
conspiracy to distribute controlled substances and money laundering.
       Senior Special Agent Ted Johanns (“Special Agent Johanns”) of Immigration and
Customs Enforcement (“ICE”) testified that he reviewed Defendant’s immigration file in
light of the information recently obtained from the DEA regarding Defendant’s uncharged
criminal conduct. Based on his review of Defendant’s file, which he admitted was only
recently obtained, there is a question as to whether Defendant made false statements in


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         The court assumes from the context of the document that “IB” stands for
Investment Banker.

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obtaining citizenship. Specifically, on the Application for Naturalization, although he
admitted three prior arrests, he did not disclose other criminal activity in Questions 15A
and 12E that he had admitted to the DEA and the federal grand jury some years earlier.
Special Agent Johanns testified that such a failure to disclose can result in additional
criminal charges, loss of citizenship and removal from the United States.
       Finally, Alexis Birbragher testified. She has been married to Defendant for twelve
years and has known him seventeen years. She stated that she and Defendant would secure
Defendant’s bond with the equity in their home in Florida. She estimated the equity to be
approximately $1.5 million. Mrs. Birbragher testified that her mother, Betty Iberia Lopez,
who also lives in Florida, would secure Defendant’s bond with the $500,000 equity in her
home. Mrs. Birbragher testified that they have been “waiting” for the Indictment to be
returned. She offered as evidence that her husband would not flee the fact that, after the
search warrant was executed on Pharmacom, he traveled to Panamá on business and
returned. Further, he appeared voluntarily on November 16, 2007 to answer the charges.
       However, she admitted Defendant and his attorney did not know that the
government had information about Defendant’s prior criminal conduct from his DEA file
until they arrived at the courthouse just prior to arraignment. Mrs. Birbragher also
admitted her original name was Miriam Lopez. She changed her name some years ago.
She also was previously arrested on the money laundering charge along with Defendant.
At the time she was charged, she was an employee of Ocean Bank. Her brother, Anthony
Lopez, currently works at a bank in Miami named IBJ Schroeder. Mrs. Birbragher
testified that she had a bank account with $500,000 in it that had been given to her by her
husband from Pharmacom funds.
                                  IV. RELEVANT LAW
       The Bail Reform Act of 1984, 18 U.S.C. § 3141, et seq., compels the court to
detain criminal defendants prior to trial if the court “finds that no condition or combination


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of conditions will reasonably assure the appearance of the person as required and the safety
of any other person and the community . . . .” 18 U.S.C. § 3142(e). In United States v.
Salerno, the United States Supreme Court upheld the constitutionality of the Bail Reform
Act of 1984, though noting that “[i]n our society liberty is the norm, and detention prior
to trial or without trial is the carefully limited exception.” 481 U.S. 739, 755 (1987).
       A determination that a defendant poses a safety risk must be supported by clear and
convincing evidence. 18 U.S.C. § 3142(f) (“The facts the judicial officer uses to support
a finding pursuant to subsection (e) that no condition or combination of conditions will
reasonably assure the safety of any other person and the community shall be supported by
clear and convincing evidence.”). As to the risk of flight, the Eighth Circuit Court of
Appeals has repeatedly held that a preponderance of the evidence standard applies. United
States v. Abad, 350 F.3d 793, 797 (8th Cir. 2003); United States v. Kisling, 334 F.3d 734,
735 (8th Cir. 2003); United States v. Orta, 760 F.2d 887, 891 n.20 (8th Cir. 1985) (en
banc). It is sufficient for a defendant either to be found a risk of danger to the safety of
the community or a flight risk to authorize detention. United States v. Cantu, 935 F.2d
950, 952 (8th Cir. 1991) (quoting United States v. Sazenski, 806 F.2d 846, 848 (8th Cir.
1986)).
       Subsection 3142(g) lists the factors the court must consider in making its detention
determination. Those factors are:
              (1) the nature and circumstances of the offense charged,
              including whether the offense is a crime of violence, a Federal
              crime of terrorism, or involves a minor victim or a controlled
              substance, firearm, explosive, or destructive device;

              (2) the weight of the evidence against the person;

              (3) the history and characteristics of the person, including–

                     (A) the person’s character, physical and mental
                     condition, family ties, employment, financial resources,

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                     length of residence in the community, community ties,
                     past conduct, history relating to drug or alcohol abuse,
                     criminal history, and record concerning appearance at
                     court proceedings; and

                     (B) whether, at the time of the current offense or arrest,
                     the person was on probation, on parole, or on other
                     release pending trial, sentencing, appeal, or completion
                     of sentence for an offense under Federal, State, or local
                     law; and

              (4) the nature and seriousness of the danger to any person or
              the community that would be posed by the person’s release. In
              considering the conditions of release described in subsection
              (c)(1)(B)(xi) or (c)(1)(B)(xii) of this section, the judicial officer
              may upon his [or her] own motion, or shall upon the motion of
              the Government, conduct an inquiry into the source of the
              property to be designated for potential forfeiture or offered as
              collateral to secure a bond, and shall decline to accept the
              designation, or the use as collateral, of property that, because
              of its source, will not reasonably assure the appearance of the
              person as required.
18 U.S.C. § 3142(g)(1)-(4).
       Once it is established that there is probable cause that a crime has been committed,
a rebuttable presumption for detention arises in certain types of cases, 18 U.S.C.
§ 3142(e), including violations of the Controlled Substances Act, 21 U.S.C. § 801, et seq..
The Controlled Substances Act includes § 846, under which the maximum statutory penalty
is ten years or more. An indictment by a grand jury may establish probable cause to
trigger the presumption. United States v. Illas-Pellot, 215 F.3d 1312, 1312 (1st Cir. 2000)
(“The grand jury indictment facially established probable cause to believe that the appellant
had committed a relevant drug offense punishable by a maximum term of at least ten
years.”); United States v. Stricklin, 932 F.2d 1353, 1355 (10th Cir. 1991) (“Here, the
grand jury indictment of defendant was sufficient to establish a finding of probable cause


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that he had committed a federal drug offense carrying a maximum prison term of ten years
or more.”); United States v. Quartermaine, 913 F.2d 910, 916 (11th Cir. 1990) (“A grand
jury indictment provides the probable cause required by the statute to trigger the
presumption.”). The rebuttable presumption imposes on Defendant only a burden of
production. Abad, 350 F.3d at 797. The burden of persuasion concerning the risk of
flight and dangerousness remains with the government. Id. (quoting with approval United
States v. Mercedes, 254 F.3d 433, 436 (2d Cir. 2001)); see also Abad, 350 F.3d at 800
(“We find the reasoning and conclusion in Mercedes persuasive.”); Mercedes, 254 F.3d
at 436 (“The government retains the ultimate burden of persuasion . . . that the defendant
presents a risk of flight.”).
                                      V. ANALYSIS
                                   A. Parties’ Arguments
       The government argues that there is probable cause to believe Defendant committed
the criminal acts with which he is charged and Defendant should be detained pending
resolution of this case because he is a safety risk and a flight risk. Defendant responds that
there is ample evidence to support his pretrial release. The court finds it necessary to
examine only the risk of flight.
                                      B. Application
       Count I, the charge for conspiring to distribute drugs in violation of 21 U.S.C.
§ 846, supports a finding of probable cause and thus triggers a rebuttable presumption of
detention. See Illas-Pellot, 215 F.3d at 1312; Stricklin, 932 F.2d at 1355; Quartermaine,
913 F.2d at 916. Therefore, Defendant bears the burden of production to defeat the
presumption, although the government retains the ultimate burden of persuasion. Abad,
350 F.3d at 797.
       Absent the presumption in the instant case, the application of the factors at 18
U.S.C. § 3142(g) militate strongly for detention. First, one of the crimes charged involves


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the distribution of an extremely large quantity of controlled substances over the Internet;
such charge subjects Defendant to a very lengthy term of imprisonment. See 18 U.S.C.
§ 3142(g)(1).     Second, the evidence against Defendant appears strong.             See id.
§ 3142(g)(2). Third, in addition to a charge of distribution of controlled substances,
Defendant potentially faces a criminal charge of immigration fraud, which could result in
the loss of his United States citizenship and removal from the United States. See id.
§ 3142(g)(3)(A). Fourth, Defendant has the ability to flee. He holds a Panamanian
passport, has connections in Panamá and in other foreign countries through prior financial
dealings and has admitted dealings or transactions some years ago involving cocaine and
firearms. See id. Fifth, Defendant has the financial resources to flee and remain at large.
Although considerable assets have already been seized in this case, Defendant still has
assets in the amount of four million dollars that are presumably at his disposal, which could
be used for the support of himself and his family if he decided to flee the United States.
In addition, he has a business in Panamá, from which he could earn a living. Defendant
is organizing a business similar to Pharmacom that would distribute controlled substances
in South America. The Pharmacom business in the United States grossed over $41 million
in a fifteen-month period before it was shut down by law enforcement. See id. Sixth,
Defendant previously committed substantial federal violations, which involved the
distribution of controlled substances and money laundering while living in the United States.
See id.
       The evidence presented by Defendant against detention is as follows.            First,
Defendant did not flee before he was indicted, even though he had the opportunity and the
financial ability to do so. Second, Defendant is a naturalized citizen who has lived in the
United States for over twenty years. Third, it has been at least a decade since Defendant’s
involvement in cocaine dealing and associations with cocaine dealers. Fourth, Defendant
offered to post an appearance bond secured by real estate in the Miami area. Fifth,


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Defendant offered to surrender his passports and agreed not to travel outside the United
States until this matter is resolved.
       Although Defendant attempts to satisfy his burden of production, see Abad, 350 F.3d
at 797, two facts weaken his arguments against detention. Defendant did not know the
government linked him to past criminal conduct until the morning he surrendered in this
jurisdiction, and he did not know until the date of the hearing that the government had
evidence that he had committed naturalization fraud. Thus, the case against Defendant is
more serious than he may have initially perceived. Further, Defendant’s contacts, financial
resources and experience abroad provide him the means to flee and avoid detection with or
without his passports.
       Finally, the court is unimpressed with Defendant’s surety offers. Defendant did not
present any documentation of independent appraisals on the real estate he sought to post.
Defendant’s mother-in-law did not appear at the Detention Hearing to offer her home as
security for his appearance.
       The court examined the factors found in 18 U.S.C. § 3142(g) and weighed the
evidence according to the standards discussed herein. Pursuant to the evidence presented
and the rebuttable presumption of 18 U.S.C. 3142(e), the court finds by a preponderance
of the evidence that Defendant is a risk of flight and that no condition or combination of
conditions would reasonably assure his appearance for trial. See Abad, 350 F.3d at 797;
Kisling, 334 F.3d at 735; Orta, 760 F.2d at 891 n.20.
                                    VI. CONCLUSION
       IT IS THEREFORE ORDERED:
       1.     Defendant is detained without bond pending resolution of these criminal
              matters;
       2.     Defendant is committed to the custody of the Attorney General for
              confinement in a corrections facility separate, to the extent practicable, from


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        persons awaiting or serving sentences or being held in custody pending
        appeal;
  3.    Defendant is afforded reasonable opportunity for private consultation with
        counsel;
  4.    On order of a court of the United States or on request of an attorney for the
        government, the person in charge of the correctional facility in which
        Defendant is confined is directed to deliver Defendant to the United States
        Marshal for the purpose of an appearance in connection with a court
        proceeding; and
  5.    The period between the government’s oral motion for detention and this
        Order is excluded from calculation under the Speedy Trial Act. 18 U.S.C.
        § 3161(h)(i)(F) (excluding delay resulting from the filing of any pretrial
        motion through the prompt disposition of the motion); id. § 3161(h)(1)(J)
        (excluding “delay reasonably attributable to any period, not to exceed thirty
        days, during which any proceeding concerning the defendant is actually under
        advisement by the court.”).
  DATED this 7th day of December, 2007.




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